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                   IN THE U NITED S TATES D ISTRICT C OURT
                       FOR THE D ISTRICT OF N EBRASKA

UNITED STATES OF AMERICA,                      )
                                               )      Case No. 4:03CR3006
                           Plaintiff,          )
                                               )
v.                                             )
                                               )             ORDER
DONALD P. FOX,                                 )
                                               )
                           Defendant.          )

      THIS MATTER comes before the Court on defendant's Motion to Withdraw, filing

no. 321. The Court, being fully advised in the premises, finds that said Motion should be

granted.

      IT IS THEREFORE ORDERED that Assistant Federal Public Defender John C.

Vanderslice and the Federal Public Defender’s office shall be permitted to withdraw as

counsel of record for Mr. Fox. The Clerk is directed to remove Mr. Vanderslice from

all future ECF notifications in this case.

      Dated this 14th day of November, 2008.

                                               BY THE COURT:



                                               s/  David L. Piester
                                               The Honorable David L. Piester
                                               United States Magistrate Judge
